     Case 3:16-cv-01730-AVC Document 180 Filed 10/22/20 Page 1 of 2



                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,     :
EX REL. PETER J. BONZANI,     :
  plaintiffs,                 :
                              :
     v.                       : Civil No. 3:16cv1730(AVC)
                              :
UNITED TECHNOLOGIES CORP. and :
PRATT & WHITNEY,              :
  defendants,                 :

                          RULING AND ORDER

     Upon consideration of the plaintiff-relator Peter J.

Bonzani, Jr.’s uncontested motion to strike and any responses

thereto, it is ORDERED that the motion is GRANTED. It is further

ORDERED that:

     1. Paragraph 38 is stricken as follows: “The PW F119 engine

core shares commonality with the engines and parts for both the

Air Force’s F-22 Raptor fighter jet and the F-35 fighter jet

engine (the F-135).”

     2. Paragraph 39 is stricken as follows: “Critical parts for

both the F-22 and F35 engine core—including, specifically the

Integrally Bladed Rotors (“IBRS”)—are manufactured at the PW

plant at Middletown, Connecticut.”

     3. Paragraph 81 is stricken as follows: “Since the filing

of the first complaint under seal, several in-flight mishaps

have occurred in the PW jet engines of the Airbus A320 engine;

in F-22 fighter jets and F-35 fighter engines. All of these
     Case 3:16-cv-01730-AVC Document 180 Filed 10/22/20 Page 2 of 2



engines were built and inspected before release in Middletown,

Connecticut.”

     4. Paragraph 118 is stricken as follows: “The engine core

of the F119 engine includes Integrally Bladed Rotors (IBRs). The

engine core for the F119 engine, including the IBR uses

identical specifications, parts, manufacturing processes, test

processes, and personnel is virtually identical as the F135

engine manufactured by PW.”

     5. Paragraph 119 is stricken in its entirety.

     6. Paragraph 137 is stricken as follows: “Fraudulent

testing and false certifications by PW about that testing have

most likely given rise to the submission of false claims in

connection with PW’s performance under a number of government

contracts for the manufacture of F119 engines (and F135 engines,

which share a common core and IBR part and specifications).”

     7. Paragraph 138 is stricken as follows: “Relator has

undertaken substantial effort to obtain contractual documents

and payment records relating to the Contract and other contracts

for the manufacture of F119 (and F135) engines.”

     It is so ordered this 22nd day of October 2020 at Hartford,

Connecticut.

                                             /s/
                                 Alfred V. Covello
                                 United States District Judge
